                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MISSOURI

Sentencing Minute Sheet for the Honorable Stephen R. Bough

UNITED STATES OF AMERICA                                      Case No: 13-00315-01-CR-W-SRB
vs.                                                           Date: July 9, 2015
MINDY M. HOUCK

        Plaintiff Counsel                                     Defendant Counsel

        Charles Ambrose, AUSA                                 Casey Symonds, AFPD

         Time Commenced: 10:30 a.m.                            Time Terminated: 10:40 a.m.
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X        There are no objections to the PSR.

Total Offense Level: 29 Criminal History Category: I Imprisonment Range 87 to 108. Special
Assessment: $100. Supervised Release Range: 4-5 years. Fine Range 15,000 to 5,000,000.
Restitution Not Applicable.

The Defendant is sentenced to Count(s) 1.

INCARCERATION:
X    The Court hereby orders the defendant to serve the following term of incarceration with
     the FBP. 50 months.
X    Defendant is hereby remanded to the custody of U.S. Marshal.

SUPERVISED RELEASE:
X    The Court hereby orders the defendant to the following term of Supervised Release.
     4 Years.

SPECIAL CONDITIONS OF SUPERVISED RELEASE:
X    The following special conditions of Supervised Release are:
     See J&C for special conditions of supervised release.

FINE:
X     Fine Waived.

RESTITUTION:
X    Not Applicable.

SPECIAL ASSESSMENT:
X    The Court imposes the following Special Assessment: $100.

X       Defendant be designated to Greenville, IL and defendant be designated for participation
        in the 500 hour intensive substance abuse treatment program.

X       The Court advises the Defendant she has the right to appeal.

Court Reporter: Gayle Wambolt                        Tracy Diefenbach, Courtroom Deputy


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